Case 19-15865               Doc 17-1           Filed 07/19/19 Entered 07/19/19 11:12:07                                   Desc Proposed
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